
668 S.E.2d 904 (2008)
STATE
v.
Wesley David BOLLINGER.
No. 449A08.
Supreme Court of North Carolina.
November 24, 2008.
Jarvis Edgerton, IV, for Bollinger.
Robert Wlkins, Assistant Attorney General, Roxann Vaneekhoven, District Attorney, for State of NC.
The following order has been entered on the motion filed on the 20th day of November 2008 by State of NC for Extension of Time to File Brief.
"Motion Allowed. State of NC shall have up to and including the 23rd day of December 2008 to file and serve his/her brief with this Court. By order of the Court in conference this the 24th day of November 2008."
